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                    United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                      TEL. 504-310-7700
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                                                               NEW ORLEANS, LA 70130

                              January 24, 2023


Ms. Katherine S. Addleman
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Dallas, TX 75219

Mr. Andrew W. Guthrie
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Mr. Allen Ryan Paulsen
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Dallas, TX 75219

      No. 22-60674       Bass v. SEC
                         Agency No. NCA 2018-079


Dear Ms. Addleman, Mr. Guthrie, and Mr. Paulsen,
We have filed the certified list. PETITIONER’S BRIEF AND EXCERPTS
ARE DUE WITHIN 40 DAYS FROM THE DATE ABOVE, See Fed. R. App. P. and
5th Cir. R.   28, 30 and 31.    Except in the most extraordinary
circumstances, the maximum extension for filing briefs is 40 days
in agency cases. See also 5th Cir. R. 30.1.2 and 5th Cir. R. 31.1
to determine if you have to file electronic copies of the brief
and record excerpts, and the Portable Document Format (PDF) you
MUST use. See also 5th Cir. R. 30.1 for the contents of the Record
Excerpts which are filed instead of an appendix. You may access
our   briefing   checklist   on   the  Fifth   Circuit’s    website
"http://www.ca5.uscourts.gov/docs/
default-source/forms-and-documents---clerks-office/rules/
brchecklist.pdf". An intervenor’s time is governed by 5th Cir. R.
31.2.   5th Cir. R. 42.3.2 allows the clerk to dismiss appeals
without notice if the brief is not filed on time.
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The caption for this appeal is attached, and we ask you to use it
on any briefs filed with this court.
Because this case is proceeding on a certified list of documents
instead of the record, see 5th Cir. R. 30.2. Petitioner must obtain
a copy of the portions of the record relied upon by the parties in
their briefs, and file them within 21 days from the date of filing
of respondent’s brief, with suitable covers, numbering and
indexing.
Brief Template: The clerk’s office offers brief templates and the
ability to check the brief for potential deficiencies prior to
docketing to assist in the preparation of the brief. To access
these options, log in to CM/ECF and from the Utilities menu, select
‘Brief Template’ (Counsel Only) or ‘PDF Check Document’.
Reminder as to Sealing Documents on Appeal: Our court has a strong
presumption of public access to our court’s records, and the court
scrutinizes any request by a party to seal pleadings, record
excerpts, or other documents on our court docket. Counsel moving
to seal matters must explain in particularity the necessity for
sealing in our court. Counsel do not satisfy this burden by simply
stating that the originating court sealed the matter, as the
circumstances that justified sealing in the originating court may
have changed or may not apply in an appellate proceeding. It is
the obligation of counsel to justify a request to file under seal,
just as it is their obligation to notify the court whenever sealing
is no longer necessary.     An unopposed motion to seal does not
obviate a counsel’s obligation to justify the motion to seal.


                                Sincerely,
                                LYLE W. CAYCE, Clerk


                                By: _________________________
                                Majella A. Sutton, Deputy Clerk
                                504-310-7680
Enclosure(s)
cc w/encl:
     Mr. William Kenneth Shirey
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J. Kyle Bass,
                       Petitioner
v.
Securities and Exchange Commission,
                       Respondent
